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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 21-1367 JVS (KESx)                                    Date   December 8, 2021
 Title             Aaron Kheriaty v. Regents of the University of California, et al.


 Present: The                    James V. Selna, U.S. District Court Judge
 Honorable
                         Lisa Bredahl                                         Not Present
                         Deputy Clerk                                       Court Reporter
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                         Not Present

 Proceedings:           [IN CHAMBERS] Order Regarding Motion for Judgment on the
                        Pleadings

      Defendant Michael Drake, M.D. (“Drake”) filed a motion for judgment on the
pleadings. Mot., Dkt. No. 46. Plaintiff Aaron Kheriaty, M.D., (“Kheriaty”) filed a
response. Opp’n, Dkt. No. 54. Drake filed a reply. Reply, Dkt. No. 58.

      For the following reasons, the Court GRANTS the motion for judgment on the
pleadings.

                                                    I. BACKGROUND

       This case concerns the constitutionality of the University of California’s COVID-
19 vaccine policy. On July 15, 2021, the Regents of the University of California
(“Regents”) enacted the University of California Policy regarding the COVID-19
Vaccination Program (“Vaccine Policy”) which requires all students, faculty, and staff,
with limited exemptions, to be fully vaccinated against COVID-19 before accessing
University of California (“University”) facilities. “Policy,” Dkt. No. 47-1, Ex. 1. Kheriaty
is a professor of Psychiatry and Human Behavior at the University of California Irvine
(“UCI”) School of Medicine and the director of the Medical Ethics Program at the UCI
School of Medicine. Compl., Dkt. No. 1 ¶ 17. As an employee of UCI, Kheriaty is subject
to the Vaccine Policy. Id. ¶¶ 5-6. Kheriaty contracted COVID-19 in July 2020 and has
since fully recovered. Id. ¶ 7. Kheriaty seeks declaratory relief enjoining the University
from enforcing the Vaccine Policy against him because he alleges that as a result of his
prior infection with COVID-19, he has superior immunity to COVID-19 than vaccinated
individuals. Id. ¶ 10.
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       While the parties disagree about the safety and effectiveness of the COVID-19
vaccines, as well as the relative merits of vaccine-induced immunity compared with
infection-induced immunity, for the purposes of a motion for judgment on the pleadings,
the Court must assume the truth of the allegations in the complaint. Thus, this factual
background relies on Kheriaty’s complaint.

         A.      COVID-19 and Vaccines

       The first confirmed case of COVID-19 in California occurred on January 22, 2020.
Id. ¶ 19. In the nearly two years since, the COVID-19 pandemic upended everyday life
across the globe. Kheriaty alleges that more than 120 million individuals in the United
States contracted COVID-19 as of May 2021. Id. ¶ 29. The global effort to develop
vaccines began in early 2020, shortly after SARS-CoV-2 was identified as the cause of
COVID-19. Clinical trials showed that the Pfizer vaccine had 95% efficacy, the Moderna
vaccine had 94.5% efficacy and the Johnson & Johnson vaccine had 67% efficacy. Id. ¶
32. Despite the successful clinical trials and approval from government regulators,
Kheriaty raises a number of concerns about the COVID-19 vaccines.

       First, Kheriaty questions the safety of the COVID-19 vaccines. He alleges that
studies show a higher rate of adverse reactions to the vaccine among individuals with
infection-induced immunity. Id. ¶ 46. He also alleges that the general population faces
substantial risks from vaccination, in part because user-reported entries into the CDC’s
Vaccine Adverse Event Reporting System show that the rate of serious reactions to the
COVID-19 vaccine are significantly higher than indicated by CDC tracking. Id. ¶ 47-48.
Additionally, Kheriaty alleges that post-vaccination cases of myocarditis, pericarditis,
thrombocytopenia, and blood clots could be linked to COVID-19 vaccination. Id. ¶ 49.

       Next, Kheriaty alleges that the vaccines are not effective at preventing infections.
He alleges that a study of a community outbreak in Massachusetts found that most
individuals who were infected were previously vaccinated, id. ¶ 42, and that Rochelle
Walensky, the Director of the Centers for Disease Control and Prevention (“CDC”),
stated during a CNN appearance that the vaccines can no longer prevent transmission. Id.
¶ 43. Kheriaty also alleges that studies of monkeys suggest that the COVID-19 vaccines
do not fully block viral infection and replication. Id. ¶ 41.

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       Finally, Kheriaty alleges that infection-induced immunity provides superior
protection than vaccine-induced immunity. Kheriaty alleges that infection-induced
immunity is definitively more than 99% effective at preventing reinfection. Id. ¶ 39. As
support for that proposition, he alleges that as of May 2021 there were no documented
cases of re-infected individuals contracting SARS-Cov-2 and transmitting the virus. Id.
He also alleges that studies show that infection-induced immunity lasts for at least 10
months, and alleges that some researchers have concluded that it could be lifelong based
on the similarity to other viruses. Id. ¶¶ 27, 30. Kheriaty also alleges that studies from
Israel, French Guiana, and the Cleveland Clinic suggest that infection-induced immunity
may be more effective than vaccine-induced immunity. Id. ¶¶ 30, 35. Kheriaty alleges
that those data conclusively show that infection-induced immunity “confers an additional
benefit” over vaccine-induced immunity. Id. ¶ 40.

         B.      University of California Vaccine Policy

        Throughout the pandemic, the Regents adopted numerous new University-wide
policies in response to rapidly changing public health conditions and scientific
knowledge. After more than a year of online instruction, the University is resuming in-
person activities this fall, with more than 280,000 students and over 227,000 faculty and
staff returning to locations across the state of California. Id. ¶ 8. On July 15, 2021, the
University issued the Vaccine Policy “to facilitate protection of the health and safety of
the University community.” Policy at 2. The Vaccine Policy requires every member of
the campus community, including students, faculty, and staff, to receive a COVID-19
vaccination as a condition of access to University facilities. Id. The Vaccine Policy does
provide exceptions on the basis of medical exemption, disability, or religious objection.
Id. at 3.

        An individual with documentation of a recent COVID-19 diagnosis or an antibody
test showing infection-induced immunity is only eligible to apply for a temporary
medical exemption of up to 90 days. Id. at 11. Elaborating on the rationale for that
decision, the Vaccine Policy quotes a publication from the U.S. Food and Drug
Administration (“FDA”) stating that “a positive result from an antibody test does not
mean you have a specific amount of immunity or protection from SARS-CoV-2 infection
. . . Currently authorized SARS-CoV-2 antibody tests are not validated to evaluate
specific immunity or protection from SARS-CoV-2 infection.” Id. at 11.
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         C.      Procedural History

      On August 18, 2021, Kheriaty filed his complaint seeking declaratory and
injunctive relief based on the alleged unconstitutionality of the Policy. See Compl., Dkt.
No. 1. The initial complaint named both the Regents and Drake as defendants. Id. On
September 29, 2021, the Court denied Kheriaty’s motion for a preliminary injunction.
See Order, Dkt. No. 41 (amended version). That same day, Kheriaty voluntarily
dismissed the Regents as a defendant. See Dkt. No. 40. On October 18, 2021, Drake
submitted the instant motion for judgment on the pleadings. See Mot., Dkt. No. 46.

                                      II. LEGAL STANDARD

       Under Federal Rule of Civil Procedure 12(c), “[a]fter the pleadings are closed—but
early enough not to delay trial—a party may move for judgment on the pleadings.” A
court should grant a motion for judgment on the pleadings if, “taking all the allegations
in the pleading as true, the moving party is entitled to judgment as a matter of law.”
McSherry v. City of Long Beach, 423 F.3d 1015, 1021 (9th Cir. 2005). The same
standard as a Rule 12(b)(6) motion governs a Rule 12(c) motion. Chavez v. United States,
683 F.3d 1102, 1108 (9th Cir. 2012); United States ex rel. Cafasso v. Gen. Dynamics C4
Sys., Inc., 637 F.3d 1047, 1054 n.4 (9th Cir. 2011).

       In resolving a 12(b)(6) motion, a court uses a two-pronged approach. First, a court
must accept all well-pleaded factual allegations as true, but “[t]hreadbare recitals of the
elements of a cause of action, supported by mere conclusory statements, do not suffice.”
Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Nor must a court “accept as true a legal
conclusion couched as a factual allegation.” Id. at 678–80 (quoting Bell Atl. Corp. v.
Twombly, 550 U.S. 544, 555 (2007)). Second, assuming the veracity of well-pleaded
factual allegations, a court must “determine whether they plausibly give rise to an
entitlement to relief.” Id. at 679. This determination is context-specific, requiring a court
to draw on its experience and common sense, but there is no plausibility “where the well-
pleaded facts do not permit the court to infer more than the mere possibility of
misconduct.” Id.

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                                          III. DISCUSSION

         A.      Evidentiary Objections

        As a preliminary matter, the parties disagree over the scope of relevant evidence
that is permissible for the Court to consider at this stage. As is the case when ruling on a
Rule 12(b)(6) motion, a district court may not consider matters outside the pleadings
when evaluating a Rule 12(c) motion without treating it as a motion for summary
judgment, with two exceptions. See Fed. R. Civ. P. 12(b)(6); Chavez, 683 F.3d at 1108.
First, “a court may consider material which is properly submitted as part of the
complaint.” Lee v. City of Los Angeles, 250 F.3d 668, 688 (9th Cir. 2001). This
exception includes documents that are not physically attached to the complaint if the
authenticity is not contested and the complaint necessarily relies on them. Id.
Additionally, under Federal Rule of Evidence 201, the Court may take judicial notice of
matters of public record if the facts are not “subject to reasonable dispute.” Id. at 688-89;
see Fed. R. Evid. 201(b).

       Drake filed a request for judicial notice (“RJN”) in support of his motion. See RJN,
Dkt. No. 47. Kheriaty filed an objection to Drake’s RJN. Obj., Dkt. No. 55. Drake
requests that the Court take judicial notice of nine publications. The Court considers them
in turn.

                 i.    Vaccine Policy

      First, Drake requests that the Court take judicial notice of the Vaccine Policy
because he argues that Kheriaty’s complaint necessarily relies on it. RJN at 2. While
Kheriaty does not dispute that taking judicial notice of the existence of the Policy itself is
proper, he argues that the Court should deny the RJN to the extent that the Policy makes
statements of fact that are contradicted by the allegations in the complaint. Obj. at 2.

      The Court will take judicial notice of the authenticity and existence of the Vaccine
Policy because it is undisputed that Kheriaty’s complaint necessarily relies on the Policy
and that Drake submitted an authentic version of the document in question. To the extent
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that the Policy relies on disputed statements of fact, the Court will not take the disputed
statements of fact as true. See Lee, 250 F.3d at 689-90 (holding that it was proper for a
district to take notice of the fact that a waiver was signed, but not proper to accept that
signature as valid); Eidson v. Medtronic, Inc., 981 F. Supp. 2d 868, 878 (N.D. Cal. 2013)
(“While matters of public record are proper subjects of judicial notice, a court may take
notice only of the authenticity and existence of a particular [record], not the veracity or
validity of its contents.”).

                 ii.   Government Websites

       Next, Drake requests that the Court take judicial notice of several different
publications on the FDA and CDC websites. See RJN at 4-5, Exs. 2-8. A court may “take
judicial notice of undisputed and publicly available information displayed on government
websites.” King v. Cty. of Los Angeles, 885 F.3d 548, 555 (9th Cir. 2018); see Daniels-
Hall v. Nat’l Educ. Ass’n, 629 F.3d 992, 998 (9th Cir. 2010) (holding that it is
“appropriate to take judicial notice” of information “made publicly available by
government entities” where neither party disputes the authenticity or the accuracy of the
information).

      Kheriaty argues that Drake’s RJN regarding the governmental websites is improper
because the documents are irrelevant and the facts contained within them are disputed.
Obj. at 2-3. He also argues that the complaint does not incorporate the government
websites by reference because it does not rely on them. Id. at 4-6. A document “may be
incorporated by reference into a complaint if the plaintiff refers extensively to the
document or the document forms the basis of the plaintiff’s claim.” United States v.
Ritchie, 342 F.3d 903, 908 (9th Cir. 2003). The Court agrees with Kheriaty that the
doctrine of incorporation by reference does not include Exhibits 2-8 because the
complaint does not rely on them.

       However, the Court disagrees with Kheriaty’s proposition that the governmental
websites are irrelevant. All of these documents were listed in the Vaccine Policy as
“Related Information,” with links to the corresponding government websites. See Policy
at 9. All of these documents contain information that is “made publicly available by
government entities.” Daniels-Hall, 629 F.3d at 998. Kheriaty disputes the accuracy of
the statements of fact contained within the documents, but not the authenticity of the
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documents themselves. Thus, the Court takes judicial notice of the existence of the
documents but does not accept the factual statements within the documents as true for the
purposes of this motion. See United States v. Mitchell, No. CV 14-9771 DMG (PJWx),
2016 WL 857301, at *3 (C.D. Cal. Mar. 4, 2016) (taking judicial notice of the existence
of a report on a governmental website “but not the truth of the facts asserted therein”
where there is a dispute over accuracy, but not authenticity).

                 iii.   Infectious Diseases Society of America Website

       Finally, Drake requests that the Court take judicial notice of a publication on the
Infectious Diseases Society of America (“IDSA”) website. See RJN 5, Ex. 9. In addition
to the objections he raised regarding the government websites, Kheriaty argues that this is
not the proper subject of judicial notice because IDSA is a private entity, not a
government agency. Obj. at 6. In the RJN, Drake avers that the site in question is “funded
in part by the [CDC],” and that it is “a collaboration between established medical
organizations such as the [IDSA] and the HIV Medical Association.” RJN at 5. In
response to Kheriaty’s objection, he characterizes the website as “a collaboration between
the CDC and the [IDSA].” Reply at 4. While this suggests that there is some level of
governmental involvement, Drake has not shown that this qualifies as information that is
made publicly available by a governmental entity. See Rollins v. Dignity Health, 338 F.
Supp. 3d 1025 (C.D. Cal. 2018) (concluding that admitting records from government
websites is “the logical extension of the judicial notice rules,” but declining to grant
judicial notice to the records of private parties). As the IDSA website is neither a
governmental record, nor was it incorporated by reference into the complaint, the Court
declines to take judicial notice of Exhibit 9.

         B.      Standard of Review

       Kheriaty alleges that the Vaccine Policy violates the Equal Protection Clause of the
Fourteenth Amendment and violates his substantive due process rights as protected by the
Fourteenth Amendment. Compl. ¶¶ 63-87. In response to Kheriaty’s motion for a
preliminary injunction, the Court found that rational basis review should be applied to the
equal protection claim because Kheriaty had not shown that there was a suspect class at
issue. See Order at 9. In opposition to this motion, Kheriaty presents no argument that the
Policy targets a suspect class, thus the Court will again apply rational basis review to the
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equal protection claim. See Minn. State Bd. of Cmty. Colls. v. Knight, 465 U.S. 271, 291
(1984) (holding that where there is no suspect class at issue, a policy “need only
rationally further a legitimate state purpose to be valid under the Equal Protection
Clause”) (internal quotations omitted).

       The Court’s earlier ruling also found that rational basis review was the appropriate
level of scrutiny for Kheriaty’s substantive due process claim. See Order at 8. “To state a
prima facie substantive or procedural due process claim, one must, as a threshold matter,
identify a liberty or property interest protected by the Constitution.” United States v.
Guillen-Cervantes, 748 F.3d 870, 872 (9th Cir. 2014). The Due Process Clause “provides
heightened protection against government interference with certain fundamental rights
and liberty interests.” Washington v. Glucksberg, 521 U.S. 702, 720 (1997). Supreme
Court jurisprudence “establish[es] a threshold requirement–that a challenged state action
implicate a fundamental right–before requiring more than a reasonable relation to a
legitimate state interest to justify the action.” Id. at 722. The Court found that Kheriaty
had not shown that the Vaccine Policy violated any of his fundamental rights, and
considered the challenge under rational basis review. Order at 8.

      However, in opposition to Drake’s motion for judgment on the pleadings, Kheriaty
maintains that the Court should apply strict scrutiny because the Vaccine Policy
implicates his fundamental right to bodily integrity. Opp’n at 11-17. While Kheriaty
presents some new arguments and repeats others made in previous filings, the Court
again finds that he has not shown that the Vaccine Policy violates a fundamental right.
Below, the Court responds to each of Kheriaty’s contentions in turn.

                 i.    Careful Formulation of the Interest at Stake

       Kheriaty claims that “the caselaw is clear that the right to bodily integrity is
implicated ‘regardless of the manner in which the government intrudes upon an
individual’s body.’” Opp’n at 14 (quoting Guertin v. State, 912 F.3d 907, 919 (6th Cir.
2019)) (emphasis omitted). But adopting that sweeping characterization would ignore the
“tradition of carefully formulating the interest at stake in substantive-due-process cases.”
Glucksberg, 521 U.S. at 722. In Guertin, the court held that the plaintiffs had pled a
plausible due process violation of the right to bodily integrity because of lead
contamination in the Flint, Michigan drinking water. 912 F.3d at 915-16. The right to be
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free from government officials knowingly providing contaminated drinking water is
easily distinguished from the scenario here where the Vaccine Policy promotes public
health and safety by requiring vaccination to access University facilities. See Guertin,
912 F.3d at 922 (distinguishing between the governmental introduction of fluoride into
the public water system to prevent tooth decay and the intentional introduction of known
contaminants by governmental officials where the “defendants make no contention that
causing lead to enter Flint’s drinking water was for the public good or that they provided
notice”).

       Kheriaty also relies on Guertin for the proposition that “any compelled intrusion
into the human body implicates significant constitutionally protected . . . interests.”
Opp’n at 13 (quoting Guertin, 912 F.3d at 919) (emphasis omitted). But a review of the
quoted language in its original context in Missouri v. McNeely shows that it is inapposite.
569 U.S. 141, 159 (2013). The excerpted language in McNeely reads in full: “We have
never retreated, however, from our recognition that any compelled intrusion into the
human body implicates significant, constitutionally protected privacy interests.” Id.
(emphasis added). McNeely considered the privacy interest of a motorist suspected of
drunk driving who was suspected of drunk driving. Id. at 146-47. The Fourth Amendment
concerns and individual privacy interests relevant to the analysis in McNeely are wholly
distinct from the public health concerns at issue here.

       When a plaintiff brings a substantive due process challenge to a governmental
policy, a district court is required to carefully formulate the liberty interest at stake. See
Glucksberg, 521 U.S. at 722. While courts have found that a fundamental right to bodily
integrity does exist in a number of different circumstances, see, e.g., Sanchez v. City of
Fresno, 914 F. Supp. 2d 1079, 1111 (E.D. Cal. 2012) (holding that government action
could be found to violate the “fundamental right to life/bodily integrity” where plaintiff
alleged that officials intentionally timed the destruction of his shelter to coincide with
cold winter months), that does not relieve this Court of the obligation to consider the
specific rights implicated by Kheriaty’s challenge to the Vaccine Policy.

                 ii.   Vaccination and Fundamental Rights

       Courts have found that certain medical procedures do implicate a fundamental
right to bodily integrity. In Washington v. Harper, the Supreme Court held that “[t]he
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forcible injection of [antipsychotic drugs] into a nonconsenting person’s body represents
a substantial interference with that person’s liberty.” 494 U.S. 210, 229 (1990). Other
courts have discussed in broad strokes the “fundamental rights to determine one’s own
medical treatment, to refuse unwanted medical treatment, and a fundamental liberty
interest in medical autonomy.” Magney v. County of Humboldt, No. 17-CV-02389-HSG,
2018 WL 6460506, at *4 (N.D. Cal. Dec. 10, 2018) (finding that plaintiff stated a claim
that refusal to implement his end of life medical treatment plan violated his liberty
interest in medical autonomy such that qualified immunity did not protect the state
officials); see also Saulsberry v. Maricopa Cty., 151 F. Supp. 2d 1109, 1118 (D. Ariz.
2001) (declining to reach the question of whether a prisoner had the right to withhold
consent to catheterization for medical purposes because governmental actors were
entitled to qualified immunity on the Fourth Amendment claim).

        Yet the fact that some medical procedures implicate fundamental rights does not
mean that is true for every medical procedure generally, and vaccination in particular. As
in every substantive due process case, the Court is required to carefully formulate the
liberty interest at stake here. See Glucksberg, 521 U.S. at 722. Prior courts considering
this issue acknowledged that vaccination efforts go beyond treating the individual and
provide a public health benefit to the larger community. See Bruesewitz v. Wyeth LLC,
562 U.S. 223, 226 (2011) (Scalia, J.) (“[T]he elimination of communicable diseases
through vaccination [is] one of the greatest achievements of public health in the 20th
century.”) (internal quotations omitted). In Jacobson v. Massachusetts, the Court deferred
to the State’s decision to enact a law allowing cities to enforce smallpox vaccination,
finding that judicial intervention would only be appropriate if the statute had “no real or
substantial relation” to public health, morals, or safety despite its purported purpose. 197
U.S. 11, 31 (1905). While Jacobson predates the formalized tiers of review, the Court
later acknowledged that it “essentially applied rational basis review.” Roman Catholic
Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 70 (2020) (Gorsuch, J., concurring).
Indeed, in the intervening century, courts routinely applied rational basis review when
considering challenges to vaccine policies. See Klaasen v. Trs. of Ind. Univ., -- F. Supp.
3d --, 2021 WL 3073926, at *24 (N.D. Ind. July 18, 2021) (collecting cases). Other courts
continued to apply that same standard when evaluating challenges to vaccine policies
issued during the COVID-19 pandemic. See, e.g., Klaasen, 2021 WL 3073926, at *24;
Harris v. Univ. of Mass., – F. Supp. 3d –, 2021 WL 3848012, at *6 (D. Mass. Aug. 27,
2021).
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       The courts to consider the issue have applied rational basis review because they
consistently found that vaccination does not implicate a fundamental right. See, e.g.,
Williams v. Brown, – F. Supp. 3d –, 2021 WL 4894264, at *9 (D. Or. Oct. 19, 2021)
(“This Court joins [the] growing consensus and concludes that there is no fundamental
right under the Constitution to refuse vaccination.”). Here, the Vaccine Policy clearly
implicates liberty interests that are distinct from what other courts have found to be a
fundamental right. Kheriaty is not refusing “lifesaving hydration and nutrition.” See
Cruzan v. Director, Mo. Dep’t of Health, 497 U.S. 261, 278 (1990) (inferring that “a
competent person has a constitutionally protected liberty interest in refusing unwanted
medical treatment”). The state is not seeking to inject him with drugs that have the
purpose of “alter[ing] the chemical balance in the patient’s brain, leading to changes,
intended to be beneficial, in his or her cognitive processes.” Washington, 494 U.S. at 229.
Kheriaty does not allege that the Vaccine Policy interferes with “a competent adult
exercis[ing] his fundamental liberty interest in medical autonomy by making an end-of-
life medical treatment plan.” Magney, 2018 WL 6460506, at *4. Instead, he is seeking to
refuse a vaccine that the University is requiring to protect the broader campus
community.

      Kheriaty cites to no precedent where a court extended the fundamental right to
bodily integrity to encompass vaccination. This Court declines to do so as well.

                 iii.   Balancing of State Interest and Individual Rights

        Finally, Kheriaty argues that courts must balance the right to bodily integrity
against state objectives prior to determining whether to apply rational basis review or
strict scrutiny. Opp’n at 15-17. This is an incorrect proposition of law. When determining
what level of scrutiny to apply, the threshold question asks whether there is a
fundamental right at issue, not whether the state’s needs outweigh the individuals. See
Glucksberg, 521 U.S. at 722.

       Some of the cases Kheriaty cites for the proposition that balancing is required
simply do not apply the law in that way. See Dragovich v. U.S. Dep’t of the Treasury,
764 F. Supp. 2d 1178, 1191 (N.D. Cal. 2011) (determining whether to apply strict
scrutiny or rational basis review based on whether the government infringes a
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fundamental liberty interest). In Klaassen, the court wrote that “[t]o decide whether the
students’ constitutional rights have been violated . . . the court must balance their liberty
against the relevant state interests in accord with the Constitution.” Klaassen, 2021 WL
3073926, at *26. Kheriaty cites that excerpt to suggest that the balancing inquiry is a
preliminary step before determining the appropriate standard of review. Opp’n at 15-16.
But that ignores the fact that the preceding paragraph in Klaassen states that based on the
analysis of the rights at issue, “all roads effectively lead to rational basis review.”
Klaassen, 2021 WL 3073926, at *26.

       Alternatively, Kheriaty cites to other cases that do not discuss tiers of scrutiny at
all. See Guertin, 912 F.3d 907; Heinrich ex rel. Heinrich v. Sweet, 62 F. Supp. 2d 282,
313 (D. Mass. 1999) (balancing the individual interests against the state interests where
plaintiffs alleged that government actors affirmatively misled participants about boron
neutron capture therapy and exposed them to radiation for experimental purposes without
consent). The use of a different analytical framework in isolated cases that do not address
vaccination mandates does not support Kheriaty’s contention that a balancing of interests
is required before deciding whether to apply rational basis review or strict scrutiny.

      The Court holds that Kheriaty has not alleged facts that would support his
contention that the Vaccine Policy implicates a fundamental right. Thus, the Court will
consider his challenge under rational basis review.

         C.      Application of Rational Basis Review

       The two-tiered rational basis inquiry first asks whether the challenged law has a
legitimate purpose, before evaluating whether the challenged law promotes that purpose.
Erotic Serv. Provider Legal Educ. and Research Project v. Gascon, 880 F.3d 450, 457
(9th Cir. 2018). When a court applies rational basis review, the governmental policy
carries “a strong presumption of validity.” F.C.C v. Beach Commc’ns, 508 U.S. 307, 314-
15 (1993) (quoting Lehnhuasen v. Lake Shore Auto Parts Co., 410 U.S. 356, 364 (1973)).
“Those attacking the rationality of the legislative classification have the burden ‘to
negative every conceivable basis which might support it.’” Id. That presumption exists
“even if the law seems unwise or works to the disadvantage of a particular group, or if the
rationale for it seems tenuous.” Romer v. Evans, 517 U.S. 620, 632 (1996). The

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government has “no obligation to produce evidence to sustain the rationality of a
statutory classification.” Heller v. Doe, 509 U.S. 312, 320 (1993).

       This creates “a tension in the interplay between the forgiving standard of a
‘plausible’ claim under Rule 12(b)(6) and the ‘heavy presumption of validity of
government conduct inherent in the rational basis standard.’” A.J. California Mini Bus,
Inc. v. Airport Comm’n of the City & Cty. of San Francisco, 148 F. Supp. 3d 904, 918
(N.D. Cal. 2015) (internal quotation omitted); see Olson v. California, No. CV 19-10956-
DMG (RAOx), 2020 WL 6439166, at *5 (C.D. Cal. Sept. 18, 2020). Thus, while the
Court accepts all facts alleged in the complaint as true for the purposes of this motion,
those facts must be “sufficient to overcome the presumption of rationality that applies to
government classifications.” Wroblewski v. City of Washburn, 965 F.2d 452, 460 (7th
Cir. 1992); see A.J. California Mini Bus, 148 F. Supp. 3d at 918; HSH, Inc. v. City of El
Cajon, 44 F. Supp. 3d 996, 1008 (S.D. Cal. 2014); Olson, 2020 WL 6439166, at *5.

       The stated purpose of the Vaccine Policy is “to facilitate protection of the health
and safety of the University community” from COVID-19. Policy at 2. “Stemming the
spread of COVID-19 is unquestionably a compelling interest.” Diocese of Brooklyn v.
Cuomo, 141 S. Ct. at 67; see Brach v. Newsom, 6 F.4th 904, 924 (9th Cir. 2021)
(“Abating the Covid pandemic is not only a legitimate state interest, but a compelling
one.”). The Court holds that this is sufficient to establish that the Vaccine Policy has a
legitimate purpose and satisfies the first step of rational basis review.

       Next, the Court turns to the question of whether the Vaccine Policy promotes that
purpose. Under rational basis review, courts “do not require that the government’s action
actually advance its stated purposes, but merely look to see whether the government
could have had a legitimate reason for acting as it did.” Wedges/Ledges of California,
Inc. v. City of Phoenix, 24 F.3d 56, 66 (9th Cir. 1994). Kheriaty argues that he has
alleged that individuals with infection-induced immunity have superior protection to the
virus, thus the Vaccine Policy is not rationally related to the goal of public safety. Opp’n
at 20-24.

      Even accepting the allegations of the complaint as true, the Vaccine Policy still
survives rational basis review. The question before the Court is not whether the Vaccine
Policy is the best vehicle for achieving the stated goals, but merely whether the
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University could have had a legitimate reason for acting as it did. The face of the Vaccine
Policy makes clear that the University considered scientific literature and evidence before
deciding to require vaccination. See Policy at 16-17. Additionally, the Vaccine Policy
cites to government publications suggesting that a positive antibody test is insufficient to
establish immunity. See Policy at 18. Presented with that evidence, it would be
reasonable for the University to conclude that a broad vaccine requirement would be
necessary even if the allegations in the complaint were true. With half a million members
of the University community, it would be rational for the University to conclude that it
would not be able to effectively ensure that all individuals had immunity to COVID-19
without requiring vaccination.

       Kheriaty asserts that his case should be considered differently because he alleges
that he recovered from a confirmed case of COVID-19. See Opp’n at 22 n.2. Even
accepting the allegations in the complaint as true, the marginal benefit of vaccination to
any specific individual is not the appropriate metric to evaluate the Policy on. Rational
basis review does not require that every government policy must be perfectly tailored to
its goals. The University is allowed to make regulations that are over or under inclusive
without interference from the Court. See Heller, 509 U.S. at 321 (“A classification does
not fail rational-basis review because it ‘is not made with mathematical nicety or because
in practice it results in some inequality.’”) (quoting Dandridge v. Williams, 397 U.S. 471,
485 (1970)). The Court finds that the University could legitimately have determined that
granting a permanent exemption to individuals like Kheriaty would not be feasible
because it would not be able to accurately determine who among the nearly half a million
members of the campus community had infection-induced immunity and should be
exempted from the vaccination requirement.

      Drake has shown that there is a legitimate state interest in stemming the spread of
COVID-19, and that the Vaccine Policy is rationally related to furthering that interest.
Accordingly, the Court finds that the Vaccine Policy survives rational basis review, and
that Kheriaty’s Equal Protection claim and substantive due process claims fail as a matter
of law.1

         1
         Kheriaty also baselessly implies that the Court may “conclude that because this is an issue of
public health policy that it should automatically dismiss the action without going through the proper
analysis for constitutional violations.” Opp’n at 25. In ruling on this motion, and on Kheriaty’s earlier
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                                         IV. CONCLUSION

      For the foregoing reasons, the Court GRANTS the motion for judgment on the
pleadings. The Court finds that oral argument would not be helpful in this matter. Fed R.
Civ. P. 78; L.R. 7-15.


                 IT IS SO ORDERED.




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motion for a preliminary injunction, the Court faithfully considered the arguments presented, applied
binding precedent, and reached a conclusion based on the facts and the law. Just because the Court ruled
against Kheriaty, that does not mean that the dismissal was automatic or the review was toothless. It
merely shows that Drake did a better job of persuading the Court by presenting more convincing legal
theories.
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